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5                         UNITED STATES DISTRICT COURT
6                        CENTRAL DISTRICT OF CALIFORNIA
7
         VICTORIA JI,                            Case No.: CV21-08718 PA (PDx)
8

9           Plaintiff,                            ORDER
10
                             v.                  HON. PERCY ANDERSON
11

12       JPMORGAN CHASE BANK,
         NATIONAL ASSOCIATION
13

14                       Defendant(s).
15

16

17           Based upon the Parties’ Stipulation, and good cause, this Court hereby
18      orders     Defendant      JPMORGAN        CHASE    BANK,        NATIONAL
19      ASSOCIATION to be, and is, dismissed with prejudice. Each party to bear
20
        their own attorneys' fees and costs.
21

22      IT IS SO ORDERED.
23

24      Dated: June 23, 2022                     ______________________________
25                                                    PERCY ANDERSON
26
                                                  UNITED STATES DISTRICT JUDGE
27

28




       CASE NO.: CV21-08718 PA (PDx)          1 OF 1          Ji v. JPMorgan Chase Bank
                                         PROPOSED ORDER
